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EXHIBIT A
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IN THE CIRCUIT COURT OF KANE COUNTY, ILLINOIS
SIXTEENTH JUDICIAL CIRCUIT

 

 

 

 

19-L-000568
ROMERO CHAVEZ, individually andon }
behaif of all others similarly situated, )
- plaineitt Hheomenr HA.
aintitfs, Clerk of the Circuit Court
y. . No. Kane County, Ilinois
) 11/14/2019 3:31 PM
TOTAL SYSTEM SERVICES, INC. d/b/a}
NETSPEND and DOES 1-20, ) FILED/AIMAGED
)
Defendants. )

CLASS ACTION COMPLAINT

Now comes the Plaintiff, ROMERO CHAVEZ, by and through his attorneys, and brings
this class action complaint against Defendants, TOTAL SYSTEM SERVICES, INC. d/b/a
NETSPEND and DOES 1-20, individually and on behalf of a class and sub-class of all others
similarly situated, pursuant to 735 ILCS 5/2-801, et seg. In support thereof, Plaintiff alleges and
states as follows:

PARTIES

l. Plaintiff is an individual who at the time of the events described below was
residing in St. Charles, Kane County, Illinois.

2. On information and belief, Defendant TOTAL SYSTEM SERVICES, INC. d/b/a
NETSPEND (“TSSI”) is a corporation of the State of Georgia, which is registered with the
Secretary of State to do business in Illinois, and whose principal place of business is located in
Columbus, Georgia.

3. The true names and capacities of the Defendants sued herein as DOES 1-20 are
currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names. Each of
the Defendants designated berein as a Doe is legally responsible for the unlawful acts alleged

BY ORDER OF THE COURT THIS CASE IS HEREBY SET FOR
CASE MANAGEMENT CONFERENCE ON THE DATE BELOW.
FAILURE TO APPEAR MAY RESULT IN THE CASE BEING

DISMISSED OR AN ORDER OF DEFAULT BEING ENTERED.
Judge: Pheanis, Mark A 1/30/2020 9:00 AM
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herein. Plaintiff will seek leave of Court to amend the Complaint to reflect the true names and
capacities of the Doe Defendants when such identities become known to him.

4, Plaintiff is informed and believes and thereupon alleges that at all relevant times,
each and every Defendant was acting as an agent and/or employee of each of the other
Defendants and was acting within the course and scope of said agency and/or employment with
the full knowledge and consent of each of the other Defendants. Plaintiff is informed and
believes that each of the acts and/or omissions complained of herein was made known to, and
ratified by, each of the other Defendants.

CLASS ALLEGATIONS

5, Plaintiff brings claims, pursuant to 735 ILCS 5/2-801, et seq., individually and on
behalf of the following class (the “Class”:

All individuals in the United States who held a valid Netspend
Visa card account but were not able to deposit or transfer funds
from a PayPal account into that Netspend card account, within
three years prior to the filing of this lawsuit.

6. Plaintiffs also bring claims, pursuant to 735 ILCS 5/2-801, et seg., individually
and on behalf of the following sub-class (hereinafter the “Sub-Class’’)}:

All individuals in the State of Illinois who held a valid Netspend
Visa card account but were not able to deposit or transfer funds
from a PayPal account into that Netspend card account, within
three years prior to the filing of this lawsuit.

7. The Class and the Sub-Class satisfy all of the requirements of the Illinois Code of
Civil Procedure for maintaining a class action, specifically:

a. Upon information and belief, the Class and the Sub-Class are so numerous

that joinder of all members is impracticable. On information and belief

there are hundreds, if not thousands of individuals in the United States and
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the State of Illinois who held a valid Netspend Visa card account but were

not able to deposit or transfer funds into that Netspend card account,

within three years prior to the filing of this lawsuit.

b. There are questions of fact and/or law which are common to the Class and

the Sub-Class, and which predominate over questions affecting any

individual Class or Sub-Class members. These common questions of fact

and law include, but are not limited to:

i.

iv.

Vi.

Whether Defendants’ representations that consumers will be able
to deposits or transfer funds into their Netspend Visa card accounts
as alleged herein violates the Illinois Consumer Fraud and
Deceptive Business Practices Act, 815 ILCS 505/1, et seq.;
Whether Defendants’ representations that consumers will be able
to deposits or transfer funds into their Netspend Visa card accounts
as alleged herein constitutes common law fraud;

Whether Plaintiff, the Class, and the Sub-Class have suffered
concrete and particularized injuries and harm as a result of
Defendants’ conduct; and

Whether Plaintiff, the Class, and the Sub-Class have sustained
damages and are entitled to restitution as a result of Defendants’
wrongdoing, and the proper measure and appropriate formula to be

applied in determining such damages and restitution.
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Cc. Plaintiff's claims are typical of the Class and the Sub-Class, which all
arise from the same operative set of facts and are based on the same legal
theories.

d. Plaintiff has no interests adverse or antagonistic to the interests of the
other members of the Class and the Sub-Class.

€, Plaintiff will fairly and adequately protect the interests of the Class and the
Sub-Class and Plaintiff has retained experienced and competent attorneys
to represent the Class and the Sub-Class.

f. This class action is a fair and efficient adjudication of the controversy
alleged herein. Plaintiff anticipates that no unusual difficulties are likely to
be encountered in the management of this class action.

g. This class action will permit large numbers of similarly situated persons to
prosecute their common claims in a single forum simultaneously and
without the duplication of effort and expense that numerous individual
actions would engender. This class action will also permit the adjudication
of relatively small claims by many Class and Sub-Class members who
would not otherwise be able to afford to seek legal redress for the wrongs
complained of herein. Absent a class action, Class and Sub-Class members
will continue to suffer losses of legally protected rights, as well as
monetary damages. If Defendants’ conduct is allowed proceed to without
remedy, Defendants will continue to benefit financially from such

conduct.
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h. Defendants have acted on grounds generally applicable to the entire Class
and Sub-Class, thereby making it appropriate for the Court to order final
monetary, injunctive, and declaratory relief with respect to the Class and

the Sub-Class as a whole.

 

ALLEGATIONS OF PACT
8. During or about 2015, Plaintiff opened a Netspend prepaid Visa card account.
9.  NetSpend cards are branded, sold, distributed, and/or serviced by Defendant

TSSI.

10. According to TSSI’s NetSpend website, Netspend cardholders can “[u]se PayPal
to add money to your card. Transferring funds to a Netspend Prepaid Card is a convenient way to
transfer money for PayPal users.” See hlins:/Aywew. netspend.comhelp/ fags’.

Il. On multiple _ occasions in 2017, Plaintiff took the appropriate steps to
electronically transfer funds from his PayPal account onto his Netspend prepaid Visa card
account. However, Plaintiff was unable to transfer the funds. Instead, Plaintiff repeatedly
received incorrect error messages indicating that the account could not be linked and/or that his
payment method was invalid.

12, When Plaintiff experienced the inability to transfer funds from his PayPal account
onto his Netspend prepaid Visa card account as described above, Plaintiff first contacted PayPal
for assistance. An employee, agent, and/or representative of PayPal told Plaintiff that there was
nothing that PayPal could do for him because Netspend was not a “big bank.”

13. When Plaintiff experienced the inability to transfer funds from his PayPal
account onto his Netspend prepaid Visa card account as described above, Plaintiff also contacted

TSSI for assistance. An employee, agent, and/or representative of TSSI told Plaintiff that there
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was no problem and that if Plaintiff followed TSSI’s Netspend banking steps with caution, he
would be able to access the PayPal funds on his Netspend prepaid Visa card in two to three
business days. However, despite having followed TSSI’s Netspend banking steps with caution,
Plaintiff was still unable to transfer the funds.

14. As a result of Plaintiff's inability to transfer the funds from his Paypal account
onto his Netspend prepaid Visa card, Plaintiff was unable to pay for transportation to work and
lost his job, which has had a negative effect on his employment prospects since that time.

15, As a result of Defendants’ acts and omissions outlined above, Plaintiff has
suffered concrete and particularized injuries, harm, and damages, which include, but are not
limited to, the following:

a. Loss of monthly and transactional fees paid by Plaintiff despite the
inability to use his Netspend prepaid Visa card account as advertised by
Defendants and as intended by Plaintiff;

b. Loss of employment due to Plaintiff's inability to pay for a ride to work
because he could not transfer the funds from his PayPal account to his
Netspend prepaid Visa card account as advertised, to pay for
transportation to work; and

c. Stress, aggravation, frustration, inconvenience, emotional distress, mental
anguish, and similar categories of damages.

COUNT I
VIOLATIONS OF THE ILLINGIS CONSUMER FRAUD AND

DECEPTIVE BUSINESS PRACTICES ACT, 815 ILCS 505/1, et seq.

16, Plaintiff incorporates all of the allegations and statements made in paragraphs |

through 15 above as if fully reiterated herein.
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17. ‘Plaintiff is a “person” as defined in 815 ILCS 505/1(c), as he is a natural person.

18. Defendant TSSI is a “person” as defined in 815 ILCS 505/1(c), as it is a foreign
corporation.

19. 815 ILCS 505/2 states:

Unfair methods of competition and unfair or deceptive acts or
practices, including but not limited to the use or employment of
any deception fraud, false pretense, false promise,
misrepresentation or the concealment, suppression or omission of
any material fact, with intent that others rely upon the
concealment, suppression or omission of such material fact, or the
use or employment of any practice described in Section 2 of the
“Uniform Deceptive Trade Practices Act”, approved August 5,
1965, in the conduct of any trade or commerce are hereby declared
unlawful whether any person has in fact been misled, deceived or
damaged thereby.

20. Through its failure to provide the ability to transfer funds from Plaintiff's PayPal
account onto his Netspend prepaid Visa card account as described above, Defendants made false
promises, misrepresentations, concealments, suppressions, and omissions of material facts, with
the intent that Plaintiff rely upon said false promises, misrepresentations, concealrments,
suppressions, and omissions of material facts.

21. Said false promises, misrepresentations, concealments, suppressions and
omissions of material facts include, but are not limited to, statements that Plaintiff would be able
to easily transfer funds from his PayPal account onto his Netspend prepaid Visa card account.

22, 815 ILCS 505/10a states:

(a) Any person who suffers actual damage as a result of a violation
of this Act committed by any other person may bring an action
against such person. The court, in its discretion may award actual

economic damages or any other relief which the court deems
proper...
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(c) [T]he Court may grant injunctive relief where appropriate and
may award, in addition to the relief provided in this Section,
reasonable attorney's fees and costs to the prevailing party.

23. In taking the actions and omissions set forth above, and making the false
promises, misrepresentations, concealments, suppressions, and omissions of material facts set
forth above, Defendants violated the Illinois Consumer Fraud and Deceptive Business Practices
Act, including, but not limited to 815 ILCS 505/2.

24. By reason thereof, Plaintiff is entitled to a judgment against Defendants, declaring
that Defendants’ conduct violated 815 ILCS 505/2, enjoining Defendants from engaging in
similar conduct in the future, and awarding actual damages, punitive damages, injunctive relief,

costs, and attorneys’ fees.

COUNT I
COMMON LAW FRAUD

25, Plaintiff Ancorporates all of the allegations and statements made in paragraphs |
through 24 above as if fully reiterated herein.

26. Defendants falsely represented that Plaintiff would be able to transfer funds from
Plaintiff's PayPal account onto his Netspend prepaid Visa card account.

27. At the time Defendants made such representations to Plaintiff, it knew, or
reasonably should have known, that the statements described above were false.

28. Plaintiff had a right to rely on the truth of such representations, as Plaintiff had no
way to know that he would not be able to transfer funds from his PayPal account onto his
Netspend prepaid Visa card account at the time he opened the Netspend account.

29. Plaintiff relied on the truth of such representations when he opened his Netspend
prepaid Visa card account.

30. Defendants’ representations were made with the purpose of inducing Plaintiff and
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other members of the Class and the Sub-Class to rely upon them.

31. As a result of his reasonable reliance upon Defendants’ false statements of

material fact as set forth above, Plaintiff and other members of the Class and the Sub-Class have

suffered concrete and particularized injuries, harm, and damages which include, but are not

limited to, thase listed above.

PRAYER FOR RELIEF

Wherefore, Plaintiff prays for a judgment against Defendants as follows:

a.

Declaring that this action is properly maintainable as a Class Action,
certifying Plaintiff as the Class and Sub-Class representative, and
Plaintiff's counsel as the Class and Sub-Class counsel;

Awarding Plaintiff and the Class and Sub-Class all actual damages
suffered;

Awarding Plaintiff and the Class and Sub-Class punitive damages;
Awarding Plaintiff reasonable attorneys’ fees, litigation costs, and related
expenses incurred in this Action;

Awarding pre-judgment interest and post-judgment interest as allowed by
law; and

Awarding Plaintiff and the Class and Sub-Class such other and further

relief as this Court may deem just and proper.
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JURY DEMAND

Pursuant to section 2-1105 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-1105,
Plaintiff demands a trial by jury on all issues in this action which are so triable, except for any
issues relating to the amount of attorneys’ fees and litigation costs to be awarded should Plaintiff

prevail on any of his claims in this action.

RESPECTFULLY SUBMITTED,

ROMERO CHAVEZ

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David B. Levin

Attorney for Plaintiff

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By:

 

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AFFIDAVIT PURSUANT TO ILINOIS SUPREME COURT RULE 222(b)

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information and belief and as to such matters
the undersigned certifies as aforesaid that he verily believes the same to be true.

The undersigned attorney for Plaintiff hereby certifies that the total of money damages

sought in this Complaint does exceed $50,000, exclusive of interest, costs, and attorneys’ fees.

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David B. Levin

Attorney for Plaintiff

Illinois Attorney No. 6212141

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